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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

MATTHEW PENNING,
                                                      Case No. 1:15-cv-383
               Plaintiff,
                                                      HON. GORDON J. QUIST
v.

CONSUMER SOLUTIONS GROUP, LLC
and JACQUELYN A. WITMAN, a/k/a
JACQUELYN WITMAN VINCI,

            Defendants.
____________________________________/

                                    NOTICE OF DISMISSAL

       Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, plaintiff files this

Notice of Dismissal, to dismiss this lawsuit, with prejudice, as to all defendants.

Dated: May 28, 2015                                   /s/ Phillip C. Rogers
                                                      Phillip C. Rogers (P34356)
                                                      Attorney for Plaintiff
                                                      40 Pearl Street, N.W., Suite 336
                                                      Grand Rapids, Michigan 49503-3026
                                                      (616) 776-1176
                                                      ConsumerLawyer@aol.com
